Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 1 of 15 PageID: 7604




   Liza M. Walsh
   Christine I Gannon
   Jessica K. Formichella
   WALSH PIZZI O’REILLY FALANGA LLP
   Three Gateway Center
   100 Mulberry Street, 15th Floor
   Newark, NJ 07102
   (973) 757-1100

   Of counsel:
   J.C. Rozendaal
   Uma Everett
   Tyler Liu
   STERNE, KESSLER, GOLDSTEIN & FOX, P.L.L.C.
   1100 New York Ave., NW, Suite 600
   Washington, DC 20005
   (202) 371-2600

   Attorneys for Defendant Teva Pharmaceuticals USA, Inc.

                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


    ALKERMES, INC. and ALKERMES                                   Civil Action No.: 20-12470
    PHARMA IRELAND LIMITED,                                             (MCA)(MAH)

                           Plaintiffs,
                                                                  DECLARATION OF
                           v.                                 LIZA M. WALSH IN SUPPORT
                                                              OF JOINT MOTION TO SEAL
    TEVA PHARMACEUTICALS USA, INC.,

                           Defendant.                                 Electronically Filed



          I, Liza M. Walsh, hereby declare as follows:

          1.      I am an attorney admitted to practice before this Court and a partner of the law firm

   of Walsh Pizzi O’Reilly Falanga LLP, counsel for Defendant Teva Pharmaceuticals USA, Inc.

   (“Teva”) in connection with the above-captioned action. I am familiar with the facts set forth herein


                                                    1
Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 2 of 15 PageID: 7605




   as well as the categories and types of information that Teva keeps confidential. I am also familiar

   with the harm that Teva would sustain if its confidential information were to become public.

           2.      I submit this Declaration on behalf of Teva in support of the Joint Motion to Seal

   portions of the following:

                A. Exhibit A to the Declaration of Christina Dashe in Support of Teva’s Motion in

                    Limine No. 1 to Preclude Alkermes from Providing Evidence or Testimony, or

                    Otherwise Referencing, Teva’s Purported Role in the Opioid Epidemic (D.E.

                    162);

                B. Exhibits 4-5 to the Declaration of Charles M. Lizza in Support of Plaintiffs’

                    Oppositions to Teva’s Motions in Limine Nos. 1 & 2 (D.E. 176);

                C. Plaintiffs’ Post-Trial Proposed Findings of Fact and Conclusions of Law (D.E.

                    225);

                D. Alkermes’s Response to Teva’s Post-Trial Proposed Findings of Fact and

                    Conclusions of Law (D.E. 230); and

                E. PTX-268, PTX-143, PTX-144, PTX-145, and PTX-266.

           3.      In support of the motion, an Index has been prepared identifying the specific

   portions of the foregoing documents (the select portions collectively referred to herein as

   “Confidential Materials”) Teva seeks to maintain under seal and explaining (a) the nature of the

   materials or proceedings at issue; (b) the legitimate private or public interest which warrant the

   relief sought; (c) the clearly defined and serious injury that would result if the relief sought is not

   granted; (d) why a less restrictive alternative to the relief sought is not available; (e) any prior order

   sealing the same materials in the pending action; and (f) the identity of any party or nonparty
Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 3 of 15 PageID: 7606




   known to be objecting to the sealing request. The Index is being submitted concurrently herewith

   as Exhibit 1.

           4.      This is a commercial patent dispute between private parties involving confidential

   information that Teva has a legitimate interest in protecting because its competitors in the

   marketplace could utilize the non-public information to gain an unfair advantage over Teva’s

   detriment.

           5.      The Confidential Materials Teva seeks to seal contain or refer to information that

   relates to its nonpublic and proprietary competitively sensitive technical information and highly

   sensitive business information that it maintains in confidence and is of the type that is treated as

   confidential and proprietary. In particular, the Confidential Materials contain or refer to Teva’s

   highly confidential launch plans, financial projections, and business strategy and development

   information concerning long-acting naltrexone.

           6.      The Confidential Materials Teva seeks to seal contain and/or reflect information

   that Teva designated as “Confidential” pursuant to the stipulated Discovery Confidentiality Order

   (“DCO”), submitted to the Court on March 18, 2021 and entered by this Court on January 18,

   2022.

           7.      There is a substantial public interest in ensuring that Teva’s non-public information

   related to Teva’s competitively sensitive and proprietary business information remain confidential

   and not become public at a later date. Teva would suffer a clearly defined, substantial and specific

   harm, including but not limited to, financial damage, damage to business relationships, damage to

   commercial standing, and/or other irreparable harm should any of the confidential proprietary,

   commercial, and competitively sensitive business information contained in the Confidential

   Materials be publicly disclosed in contravention of the terms of the DCO. Competitors would
Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 4 of 15 PageID: 7607




   improperly and unfairly benefit from the disclosure of Teva’s non-public business information and

   would likely use the confidential information to enhance their market or negotiation position and

   cause Teva to lose its competitive advantage in the highly competitive generic pharmaceutical

   marketplace.

          8.      There is “good cause” for sealing Teva’s confidential information. In addition, there

   was “good cause” for the entry of the DCO in this case. The same “good cause” exists for the entry

   of a sealing Order with regard to the Confidential Materials, which were designated as confidential

   pursuant to the DCO.

          9.      There is no less restrictive alternative other than sealing the Confidential Materials,

   as set forth in the Index submitted concurrently herewith. Teva’s request is narrowly tailored to

   seal only the Confidential Materials. If necessary, Teva will submit revised redacted versions

   consistent with the Court’s Order on this motion. This is the least restrictive alternative available

   to protect Teva’s non-public confidential information.

          I declare that the foregoing statements made by me are true and correct to the best of my

   knowledge.


    Dated: July 5, 2023                                           s/Liza M. Walsh
                                                                    Liza M. Walsh
Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 5 of 15 PageID: 7608




                          EXHIBIT 1
                                          Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 6 of 15 PageID: 7609




                                                                INDEX IN SUPPORT OF JOINT MOTION TO SEAL


            Material/Title of Document                  Basis for Sealing (Legitimate    Clearly Defined and Serious   Why a Less Restrictive      Any Prior Order        Party in
                                                      Private or Public Interest Which   Injury that Would Result if   Alternative to the Relief   Sealing the Same    Opposition to
                                                        Warrant the Relief Sought)          Relief is Not Granted      Sought is Not Available     Materials in the    Sealing, if any,
                                                                                                                                                    Pending Action       and Basis

Exhibit A to the Declaration of Christina Dashe in Support of Teva’s Motion in Limine No. 1 to Preclude Alkermes from Providing Evidence or Testimony, or Otherwise Referencing, Teva’s
Purported Role in the Opioid Epidemic (D.E. 162)
Page 98          In its entirety.                      Teva requests redaction of           If this request to seal is not There is no less restrictive None          None
                                                       the Confidential Materials that      granted, Teva would suffer a alternative other than sealing
                                                       contain or refer to information that clearly defined, substantial   the Confidential Materials.
                                                       relates to its nonpublic and         and specific harm, including   Teva’s request is narrowly
                                                       proprietary competitively sensitive but not limited to, financial   tailored to seal only the
                                                       technical information and highly     damage, damage to business     Confidential Materials. If
                                                       sensitive business information that relationships, damage to        necessary, Teva will submit
                                                       it maintains in confidence and is of commercial standing, and/or    revised redacted versions
                                                       the type that is treated as          other irreparable harm should consistent with the Court’s
                                                       confidential and proprietary. In     any of the confidential        Order on this motion. This
                                                       particular, the Confidential         proprietary, commercial, and is the least restrictive
                                                       Materials contain or refer to Teva’s competitively sensitive        alternative available to
                                                       highly confidential launch plans,    business information           protect Teva’s non-public
                                                       financial projections, and business contained in the Confidential confidential information.
                                                       strategy and development             Materials be publicly
                                                       information concerning long-acting disclosed in contravention of (See Walsh Decl. ¶ 9.)
                                                       naltrexone. Furthermore, the         the terms of the DCO.
                                                       Confidential Materials Teva seeks Competitors would
                                                       to seal contain and/or reflect       improperly and unfairly
                                                       information that Teva designated     benefit from the disclosure of
                                                       as “Confidential” pursuant to the    Teva’s non-public business
                                                       stipulated Discovery                 information and would likely
                                                       Confidentiality Order (“DCO”),       use the confidential


                                                                                           1
                                               Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 7 of 15 PageID: 7610




            Material/Title of Document                    Basis for Sealing (Legitimate        Clearly Defined and Serious       Why a Less Restrictive          Any Prior Order        Party in
                                                        Private or Public Interest Which       Injury that Would Result if       Alternative to the Relief       Sealing the Same    Opposition to
                                                          Warrant the Relief Sought)              Relief is Not Granted          Sought is Not Available         Materials in the    Sealing, if any,
                                                                                                                                                                  Pending Action       and Basis

                                                        submitted to the Court on March        information to enhance their
                                                        18, 2021 and entered by this Court     market or negotiation
                                                        on January 18, 2022.                   position and cause Teva to
                                                                                               lose its competitive
                                                        (See Walsh Decl. ¶¶ 5-6.)              advantage in the highly
                                                                                               competitive generic
                                                                                               pharmaceutical marketplace.

                                                                                               (See Walsh Decl. ¶ 7.)
Page 99         Lines 1-2 in their entirety.            See above.                             See above.                       See above.                       See above.         See above.

Exhibit 4 to the Declaration of Charles M. Lizza in Support of Plaintiffs’ Oppositions to Teva’s Motions in Limine Nos. 1 & 2 (D.E. 176)

Page 59         Lines 1-4 in their entirety.            Teva requests redaction of             If this request to seal is not   There is no less restrictive     None               None
                                                        the Confidential Materials that        granted, Teva would suffer a     alternative other than sealing
                                                        contain or refer to information that   clearly defined, substantial     the Confidential Materials.
                                                        relates to its nonpublic and           and specific harm, including     Teva’s request is narrowly
                                                        proprietary competitively sensitive    but not limited to, financial    tailored to seal only the
                                                        technical information and highly       damage, damage to business       Confidential Materials. If
                                                        sensitive business information that    relationships, damage to         necessary, Teva will submit
                                                        it maintains in confidence and is of   commercial standing, and/or      revised redacted versions
                                                        the type that is treated as            other irreparable harm should    consistent with the Court’s
                                                        confidential and proprietary. In       any of the confidential          Order on this motion. This
                                                        particular, the Confidential           proprietary, commercial, and     is the least restrictive
                                                        Materials contain or refer to Teva’s   competitively sensitive          alternative available to
                                                        highly confidential launch plans,      business information             protect Teva’s non-public
                                                        financial projections, and business    contained in the Confidential    confidential information.
                                                        strategy and development               Materials be publicly


                                                                                                 2
                                              Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 8 of 15 PageID: 7611




          Material/Title of Document                     Basis for Sealing (Legitimate      Clearly Defined and Serious       Why a Less Restrictive      Any Prior Order        Party in
                                                       Private or Public Interest Which     Injury that Would Result if       Alternative to the Relief   Sealing the Same    Opposition to
                                                         Warrant the Relief Sought)            Relief is Not Granted          Sought is Not Available     Materials in the    Sealing, if any,
                                                                                                                                                           Pending Action       and Basis

                                                       information concerning long-acting   disclosed in contravention of    (See Walsh Decl. ¶ 9.)
                                                       naltrexone. Furthermore, the         the terms of the DCO.
                                                       Confidential Materials Teva seeks    Competitors would
                                                       to seal contain and/or reflect       improperly and unfairly
                                                       information that Teva designated     benefit from the disclosure of
                                                       as “Confidential” pursuant to the    Teva’s non-public business
                                                       stipulated DCO, submitted to the     information and would likely
                                                       Court on March 18, 2021 and          use the confidential
                                                       entered by this Court on January     information to enhance their
                                                       18, 2022.                            market or negotiation
                                                                                            position and cause Teva to
                                                       (See Walsh Decl. ¶¶ 5-6.)            lose its competitive
                                                                                            advantage in the highly
                                                                                            competitive generic
                                                                                            pharmaceutical marketplace.

                                                                                            (See Walsh Decl. ¶ 7.)
Page 64      Lines 2-23 in their entirety.             See above.                           See above.                       See above.                   See above.         See above.

Page 81      Lines 2-25 in their entirety.             See above.                           See above.                       See above.                   See above.         See above.

Page 82      In its entirety.                          See above.                           See above.                       See above.                   See above.         See above.

Page 87      Lines 1-18 in their entirety.             See above.                           See above.                       See above.                   See above.         See above.

             Lines 20-25 in their entirety.
Page 88      Lines 1-2 in their entirety.              See above.                           See above.                       See above.                   See above.         See above.



                                                                                              3
                                                Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 9 of 15 PageID: 7612




            Material/Title of Document                     Basis for Sealing (Legitimate        Clearly Defined and Serious       Why a Less Restrictive          Any Prior Order        Party in
                                                         Private or Public Interest Which       Injury that Would Result if       Alternative to the Relief       Sealing the Same    Opposition to
                                                           Warrant the Relief Sought)              Relief is Not Granted          Sought is Not Available         Materials in the    Sealing, if any,
                                                                                                                                                                   Pending Action       and Basis

                Lines 5-25 in their entirety.

Page 99         Lines 1-2 in their entirety.             See above.                             See above.                       See above.                       See above.         See above.

Exhibit 5 to the Declaration of Charles M. Lizza in Support of Plaintiffs’ Oppositions to Teva’s Motions in Limine Nos. 1 & 2 (D.E. 176)

                In its entirety.                         Teva requests redaction of             If this request to seal is not   There is no less restrictive     None               None
                                                         the Confidential Materials that        granted, Teva would suffer a     alternative other than sealing
                                                         contain or refer to information that   clearly defined, substantial     the Confidential Materials.
                                                         relates to its nonpublic and           and specific harm, including     Teva’s request is narrowly
                                                         proprietary competitively sensitive    but not limited to, financial    tailored to seal only the
                                                         technical information and highly       damage, damage to business       Confidential Materials. If
                                                         sensitive business information that    relationships, damage to         necessary, Teva will submit
                                                         it maintains in confidence and is of   commercial standing, and/or      revised redacted versions
                                                         the type that is treated as            other irreparable harm should    consistent with the Court’s
                                                         confidential and proprietary. In       any of the confidential          Order on this motion. This
                                                         particular, the Confidential           proprietary, commercial, and     is the least restrictive
                                                         Materials contain or refer to Teva’s   competitively sensitive          alternative available to
                                                         highly confidential launch plans,      business information             protect Teva’s non-public
                                                         financial projections, and business    contained in the Confidential    confidential information.
                                                         strategy and development               Materials be publicly
                                                         information concerning long-acting     disclosed in contravention of    (See Walsh Decl. ¶ 9.)
                                                         naltrexone. Furthermore, the           the terms of the DCO.
                                                         Confidential Materials Teva seeks      Competitors would
                                                         to seal contain and/or reflect         improperly and unfairly
                                                         information that Teva designated       benefit from the disclosure of
                                                         as “Confidential” pursuant to the      Teva’s non-public business
                                                         stipulated DCO, submitted to the       information and would likely


                                                                                                  4
                                            Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 10 of 15 PageID: 7613




            Material/Title of Document                   Basis for Sealing (Legitimate       Clearly Defined and Serious       Why a Less Restrictive          Any Prior Order        Party in
                                                       Private or Public Interest Which      Injury that Would Result if       Alternative to the Relief       Sealing the Same    Opposition to
                                                         Warrant the Relief Sought)             Relief is Not Granted          Sought is Not Available         Materials in the    Sealing, if any,
                                                                                                                                                                Pending Action       and Basis

                                                      Court on March 18, 2021 and            use the confidential
                                                      entered by this Court on January       information to enhance their
                                                      18, 2022.                              market or negotiation
                                                                                             position and cause Teva to
                                                      (See Walsh Decl. ¶¶ 5-6.)              lose its competitive
                                                                                             advantage in the highly
                                                                                             competitive generic
                                                                                             pharmaceutical marketplace.

                                                                                             (See Walsh Decl. ¶ 7.)
Plaintiffs’ Post-Trial Proposed Findings of Fact and Conclusions of Law (D.E. 225)

Page 82         Paragraph numbered 240, from the      Teva requests redaction of             If this request to seal is not   There is no less restrictive     None               None
                beginning of line 1 until “Teva” on   the Confidential Materials that        granted, Teva would suffer a     alternative other than sealing
                line 2.                               contain or refer to information that   clearly defined, substantial     the Confidential Materials.
                                                      relates to its nonpublic and           and specific harm, including     Teva’s request is narrowly
                                                      proprietary competitively sensitive    but not limited to, financial    tailored to seal only the
                                                      technical information and highly       damage, damage to business       Confidential Materials. If
                                                      sensitive business information that    relationships, damage to         necessary, Teva will submit
                                                      it maintains in confidence and is of   commercial standing, and/or      revised redacted versions
                                                      the type that is treated as            other irreparable harm should    consistent with the Court’s
                                                      confidential and proprietary. In       any of the confidential          Order on this motion. This
                                                      particular, the Confidential           proprietary, commercial, and     is the least restrictive
                                                      Materials contain or refer to Teva’s   competitively sensitive          alternative available to
                                                      highly confidential launch plans,      business information             protect Teva’s non-public
                                                      financial projections, and business    contained in the Confidential    confidential information.
                                                      strategy and development               Materials be publicly
                                                      information concerning long-acting     disclosed in contravention of    (See Walsh Decl. ¶ 9.)


                                                                                               5
                                           Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 11 of 15 PageID: 7614




            Material/Title of Document                   Basis for Sealing (Legitimate        Clearly Defined and Serious       Why a Less Restrictive          Any Prior Order        Party in
                                                       Private or Public Interest Which       Injury that Would Result if       Alternative to the Relief       Sealing the Same    Opposition to
                                                         Warrant the Relief Sought)              Relief is Not Granted          Sought is Not Available         Materials in the    Sealing, if any,
                                                                                                                                                                 Pending Action       and Basis

                                                       naltrexone. Furthermore, the           the terms of the DCO.
                                                       Confidential Materials Teva seeks      Competitors would
                                                       to seal contain and/or reflect         improperly and unfairly
                                                       information that Teva designated       benefit from the disclosure of
                                                       as “Confidential” pursuant to the      Teva’s non-public business
                                                       stipulated DCO, submitted to the       information and would likely
                                                       Court on March 18, 2021 and            use the confidential
                                                       entered by this Court on January       information to enhance their
                                                       18, 2022.                              market or negotiation
                                                                                              position and cause Teva to
                                                       (See Walsh Decl. ¶¶ 5-6.)              lose its competitive
                                                                                              advantage in the highly
                                                                                              competitive generic
                                                                                              pharmaceutical marketplace.

                                                                                              (See Walsh Decl. ¶ 7.)
Page 83        Paragraph numbered 241, line 2, after   See above.                             See above.                       See above.                       See above.         See above.
               “60:21-23.)” until the end of the
               paragraph.

Alkermes’s Response to Teva’s Post-Trial Proposed Findings of Fact and Conclusions of Law (D.E. 230)

Page 125       Paragraph numbered 459, from the        Teva requests redaction of             If this request to seal is not   There is no less restrictive     None               None
               beginning of line 1 until “Teva” on     the Confidential Materials that        granted, Teva would suffer a     alternative other than sealing
               line 2.                                 contain or refer to information that   clearly defined, substantial     the Confidential Materials.
                                                       relates to its nonpublic and           and specific harm, including     Teva’s request is narrowly
                                                       proprietary competitively sensitive    but not limited to, financial    tailored to seal only the
                                                       technical information and highly       damage, damage to business       Confidential Materials. If


                                                                                                6
                                          Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 12 of 15 PageID: 7615




           Material/Title of Document                   Basis for Sealing (Legitimate        Clearly Defined and Serious       Why a Less Restrictive       Any Prior Order        Party in
                                                      Private or Public Interest Which       Injury that Would Result if       Alternative to the Relief    Sealing the Same    Opposition to
                                                        Warrant the Relief Sought)              Relief is Not Granted          Sought is Not Available      Materials in the    Sealing, if any,
                                                                                                                                                             Pending Action       and Basis

                                                      sensitive business information that    relationships, damage to         necessary, Teva will submit
                                                      it maintains in confidence and is of   commercial standing, and/or      revised redacted versions
                                                      the type that is treated as            other irreparable harm should    consistent with the Court’s
                                                      confidential and proprietary. In       any of the confidential          Order on this motion. This
                                                      particular, the Confidential           proprietary, commercial, and     is the least restrictive
                                                      Materials contain or refer to Teva’s   competitively sensitive          alternative available to
                                                      highly confidential launch plans,      business information             protect Teva’s non-public
                                                      financial projections, and business    contained in the Confidential    confidential information.
                                                      strategy and development               Materials be publicly
                                                      information concerning long-acting     disclosed in contravention of    (See Walsh Decl. ¶ 9.)
                                                      naltrexone. Furthermore, the           the terms of the DCO.
                                                      Confidential Materials Teva seeks      Competitors would
                                                      to seal contain and/or reflect         improperly and unfairly
                                                      information that Teva designated       benefit from the disclosure of
                                                      as “Confidential” pursuant to the      Teva’s non-public business
                                                      stipulated DCO, submitted to the       information and would likely
                                                      Court on March 18, 2021 and            use the confidential
                                                      entered by this Court on January       information to enhance their
                                                      18, 2022.                              market or negotiation
                                                                                             position and cause Teva to
                                                      (See Walsh Decl. ¶¶ 5-6.)              lose its competitive
                                                                                             advantage in the highly
                                                                                             competitive generic
                                                                                             pharmaceutical marketplace.

                                                                                             (See Walsh Decl. ¶ 7.)
Page 182      Paragraph numbered 583, line 1, after   See above.                             See above.                       See above.                    See above.         See above.
              “Further” until “Teva” on line 3.


                                                                                               7
                                            Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 13 of 15 PageID: 7616




               Material/Title of Document                Basis for Sealing (Legitimate        Clearly Defined and Serious       Why a Less Restrictive          Any Prior Order        Party in
                                                       Private or Public Interest Which       Injury that Would Result if       Alternative to the Relief       Sealing the Same    Opposition to
                                                         Warrant the Relief Sought)              Relief is Not Granted          Sought is Not Available         Materials in the    Sealing, if any,
                                                                                                                                                                 Pending Action       and Basis

PTX-268

Page 2 of 28      Lahoz, Lina 2022-01-20 32:06-32:16   Teva requests redaction of             If this request to seal is not   There is no less restrictive     None               None
                  in their entirety.                   the Confidential Materials that        granted, Teva would suffer a     alternative other than sealing
                                                       contain or refer to information that   clearly defined, substantial     the Confidential Materials.
                                                       relates to its nonpublic and           and specific harm, including     Teva’s request is narrowly
                                                       proprietary competitively sensitive    but not limited to, financial    tailored to seal only the
                                                       technical information and highly       damage, damage to business       Confidential Materials. If
                                                       sensitive business information that    relationships, damage to         necessary, Teva will submit
                                                       it maintains in confidence and is of   commercial standing, and/or      revised redacted versions
                                                       the type that is treated as            other irreparable harm should    consistent with the Court’s
                                                       confidential and proprietary. In       any of the confidential          Order on this motion. This
                                                       particular, the Confidential           proprietary, commercial, and     is the least restrictive
                                                       Materials contain or refer to Teva’s   competitively sensitive          alternative available to
                                                       highly confidential launch plans,      business information             protect Teva’s non-public
                                                       financial projections, and business    contained in the Confidential    confidential information.
                                                       strategy and development               Materials be publicly
                                                       information concerning long-acting     disclosed in contravention of    (See Walsh Decl. ¶ 9.)
                                                       naltrexone. Furthermore, the           the terms of the DCO.
                                                       Confidential Materials Teva seeks      Competitors would
                                                       to seal contain and/or reflect         improperly and unfairly
                                                       information that Teva designated       benefit from the disclosure of
                                                       as “Confidential” pursuant to the      Teva’s non-public business
                                                       stipulated DCO, submitted to the       information and would likely
                                                       Court on March 18, 2021 and            use the confidential
                                                       entered by this Court on January       information to enhance their
                                                       18, 2022.                              market or negotiation
                                                                                              position and cause Teva to


                                                                                                8
                                                Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 14 of 15 PageID: 7617




               Material/Title of Document                      Basis for Sealing (Legitimate        Clearly Defined and Serious       Why a Less Restrictive          Any Prior Order        Party in
                                                             Private or Public Interest Which       Injury that Would Result if       Alternative to the Relief       Sealing the Same    Opposition to
                                                               Warrant the Relief Sought)              Relief is Not Granted          Sought is Not Available         Materials in the    Sealing, if any,
                                                                                                                                                                       Pending Action       and Basis

                                                             (See Walsh Decl. ¶¶ 5-6.)              lose its competitive
                                                                                                    advantage in the highly
                                                                                                    competitive generic
                                                                                                    pharmaceutical marketplace.

                                                                                                    (See Walsh Decl. ¶ 7.)
Page 3 of 28      Lahoz, Lina 2022-01-20 35:20-36:03         See above.                             See above.                       See above.                       See above.         See above.
                  in their entirety.

Pages 4-6 of      In their entirety except for name,         See above.                             See above.                       See above.                       See above.         See above.
28                deposition date, and time stamp.

Pages 7-23 of     In their entirety except for time stamp.   See above.                             See above.                       See above.                       See above.         See above.
28
Page 24 of 28     Lahoz, Lina 2022-01-20 98:20-98:25         See above.                             See above.                       See above.                       See above.         See above.
                  in their entirety.

PTX-143, PTX-144, PTX-145, and PTX-266

                  In their entirety.                         Teva requests redaction of             If this request to seal is not   There is no less restrictive     None               None
                                                             the Confidential Materials that        granted, Teva would suffer a     alternative other than sealing
                                                             contain or refer to information that   clearly defined, substantial     the Confidential Materials.
                                                             relates to its nonpublic and           and specific harm, including     Teva’s request is narrowly
                                                             proprietary competitively sensitive    but not limited to, financial    tailored to seal only the
                                                             technical information and highly       damage, damage to business       Confidential Materials. If
                                                             sensitive business information that    relationships, damage to         necessary, Teva will submit
                                                             it maintains in confidence and is of   commercial standing, and/or      revised redacted versions
                                                             the type that is treated as            other irreparable harm should    consistent with the Court’s


                                                                                                      9
                             Case 2:20-cv-12470-MCA-MAH Document 249-2 Filed 07/05/23 Page 15 of 15 PageID: 7618




Material/Title of Document               Basis for Sealing (Legitimate       Clearly Defined and Serious       Why a Less Restrictive      Any Prior Order       Party in
                                       Private or Public Interest Which      Injury that Would Result if       Alternative to the Relief   Sealing the Same   Opposition to
                                         Warrant the Relief Sought)             Relief is Not Granted          Sought is Not Available     Materials in the   Sealing, if any,
                                                                                                                                            Pending Action      and Basis

                                      confidential and proprietary. In       any of the confidential          Order on this motion. This
                                      particular, the Confidential           proprietary, commercial, and     is the least restrictive
                                      Materials contain or refer to Teva’s   competitively sensitive          alternative available to
                                      highly confidential launch plans,      business information             protect Teva’s non-public
                                      financial projections, and business    contained in the Confidential    confidential information.
                                      strategy and development               Materials be publicly
                                      information concerning long-acting     disclosed in contravention of    (See Walsh Decl. ¶ 9.)
                                      naltrexone. Furthermore, the           the terms of the DCO.
                                      Confidential Materials Teva seeks      Competitors would
                                      to seal contain and/or reflect         improperly and unfairly
                                      information that Teva designated       benefit from the disclosure of
                                      as “Confidential” pursuant to the      Teva’s non-public business
                                      stipulated DCO, submitted to the       information and would likely
                                      Court on March 18, 2021 and            use the confidential
                                      entered by this Court on January       information to enhance their
                                      18, 2022.                              market or negotiation
                                                                             position and cause Teva to
                                      (See Walsh Decl. ¶¶ 5-6.)              lose its competitive
                                                                             advantage in the highly
                                                                             competitive generic
                                                                             pharmaceutical marketplace.

                                                                             (See Walsh Decl. ¶ 7.)




                                                                              10
